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IN THE UNITED STATES DISTRICT COURT °

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wEsTERN DIvIsroN 2‘ 59

 

 

LAURENCE BLOCH, et al.,
Plaintiffs,

vs. Civ. No. 05-2403-M1[P

FIRST AMERICAN TITLE COMPANY,

Defendant.

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SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
July 28, 2005. Present were Michael Rafferty, counsel for
plaintiffs, and John Lewis Wardlaw, counsel for defendant. At the
conference, the following dates were established as the final dates
for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1):
August 5, 2005

JOINING PARTIES: OCtOber 14, 2005
AMENDING PLEADINGS: OCtOber 14, 2005
INITIAL MOTIONS TO DISMISS: OCtOber 28, 2005
COMPLETING ALL DISCOVERY: January 9, 2006
(a) DOCUMENT PRODUCTION: January 9, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: MarCh 31, 2006

Thls document entered on the docket

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with Hula 58 and/or 79(a) FRCP on ~Me

 

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(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: January 16, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: February 3, 2006

(3) DISCLOSURE OF PLAINTIFF'S RULE 26 REBUTTAL EXPERT
INFORMATION: February 24, 2006

(4) DISCLOSURE OF DEFENDANT'S RULE 26 REBUTTAL EXPERT
INFORMATION: March 17, 2006

(5) EXPERT WITNESS DEPOSITIONS: May 31, 2006
FILING DISPOSITIVE MOTIONS: August 4, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or' other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good. cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding' judge. It is anticipated. that the trial will last
approximately four (4) days.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
after close of discovery.

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The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessaryg it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date

 

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 5 in
case 2:05-CV-02403 Was distributed by faX, mail, or direct printing on
August 4, 2005 tc the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

